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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Re: Criminal Cases
                                                         NOTICE OF TELECONFERENCE
                                                               INFORMATION
 20-CR-447



KENNETH M. KARAS, United States District Judge:

       For the week of November 1, 2021, the Court will hold all criminal proceedings by

telephone. To access the teleconference, please use the following information:

       Meeting Dial-In Number (USA toll-free): (888) 363-4749 Access Code: 7702195

       Please enter the conference as a guest by pressing the pound sign (#).

       Any requests for adjournments should be filed as soon as possible and clearly explain

why the conference should be adjourned.

SO ORDERED.

 Dated:   November 2, 2021
          White Plains, New York

                                                          KENNETH M. KARAS
                                                         United States District Judge
